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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                              CENTRAL DIVISION



  IN THE MATTER OF THE SEARCH OF:             Case No.                    *73^
  21-081-03                                  SEARCH WARRANT




TO:   FEDERAL BUREAU OF INVESTIGATION SPECIAL AGENT BENJAMIN
PLANTE AND ANY AUTHORIZED LAW ENFORCEMENT OFFICER OF THE
UNITED STATES

      An application by a Federal law enforcement officer or an attorney for the

government requests the search of the following property located in the District

of South Dakota: Esther Flute wherever she can be found in South Dakota.

The person or property to be searched described above, is believed to conceal

the person or body of Esther Flute, date of birth 9/6/1960, to include,

fingernails, fingernail clippings and swabs of the fmgemail area, saliva, cheek

skin samples, a buccal sample (swabs) and DNA.

      YOU ARE COMMANDED to execute this warrant on or before


                                         exceed 14 days)

      feTn the daytime - 6:00 a.m. to 10:00 p.m.

      □ at any time in the day or night asI find reasonable cause has been

established.


      Unless delayed notice is authorized below, you must give a copy of the

warrant and a receipt for the property taken to the person from whom, or from




                                                      C.6'                itou /y\aki^
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whose premises, the property was taken, or leave the copy and receipt at the

place where the property was taken.

      The officer executing this warrant, or an officer present during the

execution of the warrant, must prepare an inventory as required by law and

promptly return this warrant and inventory to Mark A. Moreno, United States

Magistrate Judge, or his designee.

      □ I find that immediate notification may have an adverse result listed in

18 U.S.C. § 2705 (except for delay of trial), and authorize the officer executing

this warrant to delay notice to the person who, or whose property, will be

searched or seized,       □ for          days (not to exceed 30).

                          □ until, the facts justifying, the later specific date of




                                      a.t Pierre, South Dakota
Date and Time Issued                     ^     ,


                                       MARK A. MORENO
                      A                United States Magistrate Judge
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                                         RETURN

Case no.:              Date and time warrant          Copy of warrant and inventory left
                       executed:                      wilii:

  3:0hm^-75-
Inventory made in the presence of:




Inventory of the property taken and name of any person(s) seized:




                                     CERTIFICATION


I declare under penalty of perjury that this inventory is correct and was returned along
with the original warrant to the designated clerk of court.
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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                               CENTRAL DIVISION




  IN THE MATTER OF THE SEARCH                  CASE NUMBER
  OF:
                                               APPLICATION FOR
  21-081-03                                    SEARCH WARRANT



        I, Benjamin Plante, being first duly sworn upon oath, depose and state as

follows:


        I am a Special Agent with the Federal Bureau of Investigation, and I have

reason to believe that on the person of Esther Flute, wherever she can be found

in the District of South Dakota, there is now concealed a certain person or

property, namely: the person or body of Esther Flute, date of birth 9/4/1960, to

include, fingernails, fingernail clippings and swabs of the fingernail area, saliva,

cheek skin samples, a buccal sample (swabs) and DNA, which I believe is

property or information constituting evidence of the commission of a criminal

offense,   concerning    a   violation   of   18   U.S.C. §§   1153    and   1111.

        The facts to support a finding of probable cause are contained in my

Affidavit filed herewith, and attached hereto and incorporated by this reference.

                                Respectfully Submitted,




                                B^amin Plante
                                Special Agent, Federal Bureau of Investigation
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     Sworn to before me, and subscribed in my presence on the         day of

August, 2021, at Pierre, South Dakota.




MARK A. MORENO
United States Magistrate Judge
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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                             CENTRAL DIVISION



  IN THE MATTER OF THE SEARCH OF:                Case No.: 3'^!''^^' ^3-—^
  21-081-03                                     AFFIDAVIT IN SUPPORT OF
                                                AN APPLICATION FOR SEARCH
                                                WARRANT


                                                Filed Under Seal




STATE OF SOUTH DAKOTA         )
                               ss

COUNTY OF HUGHES

     I, Benjamin Plante, being first duly sworn upon oath, depose and state as

follows:


                INTRODUCTION AND AGENT BACKGROUND

      1.    I am a Federal Bureau of Investigation (FBI) Special Agent (SA),

currently assigned to the Minneapolis Division, Pierre, South Dakota, Resident

Agency (PRA), and I have been employed by the FBI since Januaiy 2018. From

January to May 2018, I received training at the FBI Academy, receiving training
in all matters related to criminal investigations including but not limited to:

evidence collection, search and arrest warrants, and criminal procedures. As a

Federal Agent, I am authorized to investigate violations of federal law of the

United States and am a law enforcement officer with authority to execute
warrants issued under the authority of the United States.
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       2.     The information set forth below is based upon my knowledge of an

 investigation conducted by members of the FBI and the investigation of other law

 enforcement agents and officers including, but not limited to the Bureau of

 Indian Affairs (BIA). I have not included each and every fact obtained pursuant

 to this investigation but have set forth those facts that I believe are essential to

 establish the necessary probable cause for the issuance of the search warrant.

       3.     The facts and information contained in this Affidavit are based upon

 my personal observations, my training and experience, and information obtained

 from other law enforcement officers and witnesses. This Affidavit is intended to

 show merely that there is sufficient probable cause for the requested warrant

 and does not set forth all of my knowledge about this matter.

      4.      Your Affiant makes this affidavit in support of an application under

Rule 41 of the Federal Rules of Criminal Procedure for a warrant to search the

person or body of Esther Flute, date of birth (DOB) 9/4/1960, to include:

fingernails, fingernail clippings, and swabs of the fingernail area, saliva, cheek

skin samples, a buccal sample (swabs) and DNA. Based on my training and

experience and the facts as set forth in this Affidavit, there is probable cause to

believe that that there exist fruits, instrumentalities, and evidence of the offense

of activities relating to material constituting or containing evidence of the offenses

of violations of 18 U.S.C. §§ 1153 and 1111.

                                PROBABLE CAUSE

      5.    On August 3, 2021, your Affiant spoke with BIA Special Agent (SA)
Koiy Provost via telephone, and SA Provost informed your affiant of the following
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pertinent facts:

       a.    On August 3, 2021, BIA Dispatch received a call for service at 1006
             Yellow Hawk Avenue in Lower Brule, South Dakota. Esther Flute
             (Esther) reported that her husband was not breathing and requested
             assistance at her residence.

       b.    BIA Officer Conway Betone responded to the residence. Upon arrival,
             Officer Betone located an unresponsive male in the northwest
             bedroom of the residence.      Officer Betone observed a bloodlike
             substance on the male and cuts, to include puncture wounds, to
             various parts of the body. Officer Betone further noticed what
             appeared to be blood on the sheet(s) and the wall(s) at the residence.
             A knife with a bloodlike substance was observed in the sink. A blunt
             instrument was also observed by the bed.

       c.    Rebecca Rodriguez (Rebecca) was also present at the residence.
             Rebecca reported that she heard Keith hollering for food. Rebecca
             did not provide information about an altercation.

       d.   Lyman County Sheriff Steve Manger arrived to assist and declared
            the male, now identified as Keith Rencountre (Keith), date of birth
            (DOB) 5/10/1961, deceased.

       6.   On August 3, 2021, your Affiant spoke with SA Michael Lemmage of

the FBI via telephone, and SA Lemmage advised that Esther reported she was

kicked in the stomach by Keith earlier in the evening but stated she did not fight

back. Esther indicated that Keith had balance problems and he haphazardly

moved about the residence on the night of his death. Esther stated that Keith

bounced off the walls of a bedroom, at which time Esther helped him into the

bathroom. Esther reported Keith later left the bathroom and laid down on the

bed.   Esther reported holding Keith until law enforcement arrived.        Esther

reported that Rebecca's significant other Haven Traversie was also at the

residence. Esther denied knowing how Keith acquired the injuries observed by
law enforcement.
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      7.    Your Affiant is further aware that 1006 Yellow Hawk Avenue, Lower

Brule, South Dakota, in Lyman County, is within the exterior boundaries of the

Lower Brule Sioux Tribe Indian Reservation, a federally recognized tribe. I am

further aware that Esther reported to SA Lemmage that she is an enrolled

member of the Lower Brule Sioux Tribe.


                                  CONCLUSION


      8.     Your Affiant is familiar with the recovery of DNA evidence through

the use of buccal swabs, body swabs, fingernail clippings, and swabs of the

fingernail area. Based upon my training and experience and the information

contained in this Affidavit, I have reason to believe that the person or body of

Esther Flute, DOB 9/4/1960, to include saliva, cheek skin samples, fingernail

clippings and swabs of the fingernail area, and DNA, will contain necessary DNA

specimens, which then can be compared to any DNA found during the

investigation. The items sought to be collected from the body of Esther Flute will

be considered items of evidence of the crime of Murder, in violation of 18 U.S.C.

§§ 1153 and 1111.

      9.      1, therefore, respectfully request a search warrant be issued to

search the person or body of Esther Flute, and the seizure and search of the items

to include saliva, cheek skin samples, fingernail clippings and swabs of the

fingernail area, and DNA.




                                     Bej^amin Plante,
                                     Special Agent
                                     Federal Bureau of Investigation
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     Sworn to before me, and subscribed in my presence on this    day of

August, 2021, at Pierre, South Dakota.




     MARK A. MORENO
     United States Magistrate Judge
